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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 2:21-cv-14349-KMM


   JILLIAN RICARD, individually and on
   behalf of all others similarly situated,          CLASS ACTION

          Plaintiff,

   v.

   ROB GRAHAM ENTERPRISES, LLC,
   d/b/a 100 INSURE,

          Defendant.


                                 JOINT STIPULATION OF DISMISSAL

         NOW COMES the Plaintiff, Jillian Ricard, and Defendant, Rob Graham Enterprises, LLC,

  by and through their respective counsel, and pursuant to Fed. R. Civ. P. 41(a), who hereby stipulate

  and agree to the dismissal with prejudice of Plaintiff’s individual claims against Defendant and

  without prejudice of the putative class claims against Defendant.

         Each party shall bear its own respective costs and attorneys’ fees.

  Dated: March 10, 2022

  Respectfully Submitted,


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